              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 1 of 16 Page ID #:389



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                     Attorneys for Defendants
                 8 New Balance Athletics, Inc.,
                     Cal Cartage Warehousing & Transloading, LLC,
                 9 erroneously sued as California Cartage Company, LLC
                     and Steve Stigler
                10
                                              UNITED STATES DISTRICT COURT
                11
                           CENTRAL DISTRICT OF CALIFORNIA – EASTERN DISTRICT
                12

                13
                     PEDRO HERNANDEZ,                       Case No. 5:20-CV-00591-RGK-KKx
                14
                                 Plaintiff,                 STIPULATED PROTECTIVE ORDER
                15
                           v.
                16                                          Complaint Filed: February 10, 2020
                                                            Trial Date:       April 13, 2021
                17 NEW BALANCE ATHLETICS, INC.;             District Judge: Hon. R. Gary Klausner
                   BROOKVALE INTERNATIONAL,                 Magistrate Judge: Hon. Kenly Kiya Kato
                18 LLC; CALIFORNIA CARTAGE
                   COMPANY, LLC, RALLY
                19 STAFFING; TREVOR TROTMAN;
                   STEVE STIGLER; JANELLE
                20 SALAZAR; MARK GILES; and DOES
                   1 to 20,
                21
                                 Defendants.
                22

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Hernandez -
Stipulated
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                                                                          Case No. 5:20-CV-00591-RGK-KKx
                                              STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 2 of 16 Page ID #:390



                1   1.    LIMITATIONS
                2         Discovery in this action is likely to involve production of confidential,
                3   proprietary, or private information for which special protection from public disclosure
                4   and from use for any purpose other than prosecuting this litigation may be warranted.
                5   Accordingly, the parties hereby stipulate to and petition the Court to enter the
                6   following Stipulated Protective Order. The parties acknowledge that this Order does
                7   not confer blanket protections on all disclosures or responses to discovery and that the
                8   protection it affords from public disclosure and use extends only to the limited
                9   information or items that are entitled to confidential treatment under the applicable
               10   legal principles. The parties further acknowledge, as set forth in Section 12.3, below,
               11   that this Stipulated Protective Order does not entitle them to file confidential
               12   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
               13   followed and the standards that will be applied when a party seeks permission from
               14   the court to file material under seal.
               15         B. GOOD CAUSE STATEMENT
               16         This action is likely to involve trade secrets, customer and pricing lists and other
               17   valuable commercial, financial, technical and/or proprietary information for which
               18   special protection from public disclosure and from use for any purpose other than
               19   prosecution of this action is warranted. Such confidential and proprietary materials
               20   and information consist of, among other things, confidential business or financial
               21   information, information regarding confidential business practices, or other
               22   confidential commercial information (including information implicating privacy rights
               23   of third parties), information otherwise generally unavailable to the public, or which
               24   may be privileged or otherwise protected from disclosure under state or federal
               25   statutes, court rules, case decisions, or common law. Accordingly, to expedite the flow
               26   of information, to facilitate the prompt resolution of disputes over confidentiality of
               27   discovery materials, to adequately protect information the parties are entitled to keep
Hernandez -
Stipulated
               28   confidential, to ensure that the parties are permitted reasonable necessary uses of such
                                                         1          Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 3 of 16 Page ID #:391



                1   material in preparation for and in the conduct of trial, to address their handling at the
                2   end of the litigation, and serve the ends of justice, a protective order for such
                3   information is justified in this matter. It is the intent of the parties that information will
                4   not be designated as confidential for tactical reasons and that nothing be so designated
                5   without a good faith belief that it has been maintained in a confidential, non-public
                6 manner, and there is good cause why it should not be part of the public record of this

                7 case.

                8   2. DEFINI TIONS
                9          2.1    Action: this pending federal law suit, Pedro Hernandez v. New
               10   Balance Athletics, Inc. et al, Case No. 5:20-CV-00591-RGK-KKx.
               11          2.2    Challenging Party: a Party or Non-Party that challenges the
               12   designation of information or items under this Order.
               13          2.3 “CONFIDENTIAL” Information or Items: information (regardless of how
               14   it is generated, stored or maintained) or tangible things that qualify for protection under
               15 Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause

               16 Statement.

               17          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
               18   their support staff).
               19          2.5    Designating Party: a Party or Non-Party that designates information or
               20   items that it produces in disclosures or in responses to discovery as
               21   “CONFIDENTIAL.”
               22          2.6    Disclosure or Discovery Material: all items or information, regardless
               23   of the medium or manner in which it is generated, stored, or maintained (including,
               24   among other things, testimony, transcripts, and tangible things), that are produced or
               25   generated in disclosures or responses to discovery in this matter.
               26          2.7    Expert: a person with specialized knowledge or experience in a matter
               27   pertinent to the litigation who has been retained by a Party or its counsel to serve as
Hernandez -
Stipulated
               28   an expert witness or as a consultant in this Action.
                                                          2          Case No. 5:20-CV-00591-RGK-KKx
                                             STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 4 of 16 Page ID #:392



                1         2.8    House Counsel: attorneys who are employees of a party to this Action.
                2   House Counsel does not include Outside Counsel of Record or any other outside
                3   counsel.
                4         2.9    Non-Party: any natural person, partnership, corporation, association, or
                5   other legal entity not named as a Party to this action.
                6         2.10 Outside Counsel of Record: attorneys who are not employees of a party to
                7   this Action but are retained to represent or advise a party to this Action and have
                8   appeared in this Action on behalf of that party or are affiliated with a law firm which
                9   has appeared on behalf of that party, and includes support staff.
               10         2.11 Party: any party to this Action, including all of its officers, directors,
               11   employees, consultants, retained experts, and Outside Counsel of Record (and their
               12   support staffs).
               13         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
               14   Discovery Material in this Action.
               15         2.13 Professional Vendors: persons or entities that provide litigation support
               16   services (e.g., photocopying, videotaping, translating, preparing exhibits or
               17   demonstrations, and organizing, storing, or retrieving data in any form or medium) and
               18   their employees and subcontractors.
               19         2.14 Protected Material: any Disclosure or Discovery Material that is designated
               20   as “CONFIDENTIAL.”
               21         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
               22   from a Producing Party.
               23

               24   3.    SCOPE
               25         The protections conferred by this Stipulation and Order cover not only Protected
               26   Material (as defined above), but also (1) any information copied or extracted from
               27   Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
Hernandez -
Stipulated
               28   Material; and (3) any testimony, conversations, or presentations by Parties or their
                                                         3          Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 5 of 16 Page ID #:393



                1   Counsel that might reveal Protected Material.
                2         Any use of Protected Material at trial shall be governed by the orders of the trial
                3   judge. This Order does not govern the use of Protected Material at trial.
                4   4.    DURATION
                5         Even after final disposition of this litigation, the confidentiality obligations
                6   imposed by this Order shall remain in effect until a Designating Party agrees otherwise
                7   in writing or a court order otherwise directs. Final disposition shall be deemed to be
                8   the later of (1) dismissal of all claims and defenses in this Action, with or without
                9   prejudice; and (2) final judgment herein after the completion and exhaustion of all
               10   appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
               11   for filing any motions or applications for extension of time pursuant to applicable law.
               12

               13   5.    DESIGNATING PROTECTED MATERIAL
               14         5.1       Exercise of Restraint and Care in Designating Material for Protection.
               15   Each Party or Non-Party that designates information or items for protection under this
               16   Order must take care to limit any such designation to specific material that qualifies
               17   under the appropriate standards. The Designating Party must designate for protection
               18   only those parts of material, documents, items, or oral or written communications that
               19   qualify so that other portions of the material, documents, items, or communications
               20   for which protection is not warranted are not swept unjustifiably within the ambit of
               21   this Order.
               22         Mass, indiscriminate, or routinized designations are prohibited. Designations
               23   that are shown to be clearly unjustified or that have been made for an improper purpose
               24   (e.g., to unnecessarily encumber the case development process or to impose
               25   unnecessary expenses and burdens on other parties) may expose the Designating Party
               26   to sanctions.
               27         If it comes to a Designating Party’s attention that information or items that it
Hernandez -
Stipulated
               28   designated for protection do not qualify for protection, that Designating Party must
                                                           4          Case No. 5:20-CV-00591-RGK-KKx
                                              STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 6 of 16 Page ID #:394



                1   promptly notify all other Parties that it is withdrawing the inapplicable designation.
                2         5.2       Manner and Timing of Designations. Except as otherwise provided in
                3   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
                4   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                5   under this Order must be clearly so designated before the material is disclosed or
                6   produced.
                7         Designation in conformity with this Order requires:
                8               (a) for information in documentary form (e.g., paper or electronic
                9   documents, but excluding transcripts of depositions or other pretrial or trial
               10   proceedings), that the Producing Party affix at a minimum, the legend
               11   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
               12   contains protected material. If only a portion or portions of the material on a page
               13   qualifies for protection, the Producing Party also must clearly identify the protected
               14   portion(s) (e.g., by making appropriate markings in the margins).
               15         A Party or Non-Party that makes original documents available for inspection
               16   need not designate them for protection until after the inspecting Party has indicated
               17   which documents it would like copied and produced. During the inspection and before
               18   the designation, all of the material made available for inspection shall be deemed
               19   “CONFIDENTIAL.” After the inspecting Party has identified the documents it wants
               20   copied and produced, the Producing Party must determine which documents, or
               21   portions thereof, qualify for protection under this Order. Then, before producing the
               22   specified documents, the Producing Party must affix the “CONFIDENTIAL legend”
               23   to each page that contains Protected Material. If only a portion or portions of the
               24   material on a page qualifies for protection, the Producing Party also must clearly
               25   identify the protected portion(s) (e.g., by making appropriate markings in the margins).
               26               (b) for testimony given in depositions that the Designating Party identify
               27   the Disclosure or Discovery Material on the record, before the close of the deposition
Hernandez -
Stipulated
               28   all protected testimony.
                                                         5          Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 7 of 16 Page ID #:395



                1               (c) for information produced in some form other than documentary and for
                2   any other tangible items, that the Producing Party affix in a prominent place on the
                3   exterior of the container or containers in which the information is stored the legend
                4   “CONFIDENTIAL.” If only a portion or portions of the information warrants
                5   protection, the Producing Party, to the extent practicable, shall identify the protected
                6   portion(s).
                7         5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent
                8   failure to designate qualified information or items does not, standing alone, waive the
                9   Designating Party’s right to secure protection under this Order for such material. Upon
               10   timely correction of a designation, the Receiving Party must make reasonable efforts
               11   to assure that the material is treated in accordance with the provisions of this Order.
               12

               13   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
               14         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
               15   designation of confidentiality at any time that is consistent with the Court’s
               16   Scheduling Order.
               17         6.2 Meet and Confer. The Challenging Party shall initiate the dispute
               18   resolution process under Local Rule 37.1 et seq.
               19         6.3     The burden of persuasion in any such challenge proceeding shall be on
               20   the Designating Party. Frivolous challenges, and those made for an improper purpose
               21   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
               22   expose the Challenging Party to sanctions. Unless the Designating Party has waived
               23   or withdrawn the confidentiality designation, all parties shall continue to afford the
               24   material in question the level of protection to which it is entitled under the Producing
               25   Party’s designation until the Court rules on the challenge.
               26   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
               27         7.1     Basic Principles. A Receiving Party may use Protected Material that is
Hernandez -
Stipulated
               28   disclosed or produced by another Party or by a Non-Party in connection with this
                                                         6          Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 8 of 16 Page ID #:396



                1   Action only for prosecuting, defending, or attempting to settle this Action. Such
                2   Protected Material may be disclosed only to the categories of persons and under the
                3   conditions described in this Order. When the Action has been terminated, a Receiving
                4   Party must comply with the provisions of section 13 below (FINAL DISPOSITION).
                5         Protected Material must be stored and maintained by a Receiving Party at a
                6   location and in a secure manner that ensures that access is limited to the persons
                7   authorized under this Order.
                8         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
                9   ordered by the court or permitted in writing by the Designating Party, a Receiving
               10 Party may disclose any information or item designated “CONFIDENTIAL” only to:

               11            (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
               12   as employees of said Outside Counsel of Record to whom it is reasonably necessary
               13   to disclose the information for this Action;
               14            (b) the officers, directors, and employees (including House Counsel) of the
               15 Receiving Party to whom disclosure is reasonably necessary for this Action;

               16            (c) Experts (as defined in this Order) of the Receiving Party to whom
               17 disclosure is reasonably necessary for this Action and who have signed the

               18 “Acknowledgment and Agreement to Be Bound” (Exhibit A);

               19            (d) the court and its personnel;
               20            (e) court reporters and their staff;
               21            (f) professional jury or trial consultants, mock jurors, and Professional
               22 Vendors to whom disclosure is reasonably necessary for this Action and who have

               23 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);

               24            (g) the author or recipient of a document containing the information or a
               25 custodian or other person who otherwise possessed or knew the information;

               26            (h) during their depositions, witnesses ,and attorneys for witnesses, in the
               27 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
Hernandez -
Stipulated
               28 requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will

                                                         7          Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
              Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 9 of 16 Page ID #:397



                1   not be permitted to keep any confidential information unless they sign the
                2   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
                3   by the Designating Party or ordered by the court. Pages of transcribed deposition
                4   testimony or exhibits to depositions that reveal Protected Material may be separately
                5   bound by the court reporter and may not be disclosed to anyone except as permitted
                6   under this Stipulated Protective Order; and
                7            (i) any mediator or settlement officer, and their supporting personnel,
                8 mutually agreed upon by any of the parties engaged in settlement discussions.

                9   8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
               10   OTHER LITIGATION
               11         If a Party is served with a subpoena or a court order issued in other litigation
               12   that compels disclosure of any information or items designated in this Action as
               13   “CONFIDENTIAL,” that Party must:
               14             (a) promptly notify in writing the Designating Party. Such notification shall
               15   include a copy of the subpoena or court order;
               16             (b) promptly notify in writing the party who caused the subpoena or order
               17   to issue in the other litigation that some or all of the material covered by the subpoena
               18   or order is subject to this Protective Order. Such notification shall include a copy of
               19   this Stipulated Protective Order; and
               20             ()   cooperate with respect to all reasonable procedures sought to be
               21   pursued by the Designating Party whose Protected Material may be affected.
               22         If the Designating Party timely seeks a protective order, the Party served with
               23   the subpoena or court order shall not produce any information designated in this action
               24   as “CONFIDENTIAL” before a determination by the court from which the subpoena
               25   or order issued, unless the Party has obtained the Designating Party’s permission. The
               26   Designating Party shall bear the burden and expense of seeking protection in that court
               27   of its confidential material and nothing in these provisions should be construed as
Hernandez -
Stipulated
               28   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
                                                        8          Case No. 5:20-CV-00591-RGK-KKx
                                           STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 10 of 16 Page ID #:398



               1   directive from another court.
               2   9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
               3   IN THIS LITIGATION
               4            (a) The terms of this Order are applicable to information produced by a
               5   Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
               6   produced by Non-Parties in connection with this litigation is protected by the
               7   remedies and relief provided by this Order. Nothing in these provisions should be
               8   construed as prohibiting a Non-Party from seeking additional protections.
               9         In the event that a Party is required, by a valid discovery request, to produce a
              10 Non-Party’s confidential information in its possession, and the Party is subject to an

              11 agreement with the Non-Party not to produce the Non-Party’s confidential

              12 information, then the Party shall:

              13                (1) promptly notify in writing the Requesting Party and the Non-Party
              14 that some or all of the information requested is subject to a confidentiality agreement

              15 with a Non-Party;

              16                (2) promptly provide the Non-Party with a copy of the Stipulated
              17 Protective Order in this Action, the relevant discovery request(s), and a reasonably

              18 specific description of the information requested; and

              19                (3) make the information requested available for inspection by the Non-
              20 Party, if requested.

              21            (c) If the Non-Party fails to seek a protective order from this court within 14
              22 days of receiving the notice and accompanying information, the Receiving Party may

              23 produce the Non-Party’s confidential information responsive to the discovery request.

              24 If the Non-Party timely seeks a protective order, the Receiving Party shall not produce

              25 any information in its possession or control that is subject to the confidentiality

              26 agreement with the Non-Party before a determination by the court. Absent a court

              27 order to the contrary, the Non-Party shall bear the burden and expense of seeking
Hernandez -
Stipulated
              28 protection in this court of its Protected Material.

                                                       9          Case No. 5:20-CV-00591-RGK-KKx
                                          STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 11 of 16 Page ID #:399



               1   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
               2         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
               3   Protected Material to any person or in any circumstance not authorized under this
               4   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
               5   writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
               6   to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
               7   persons to whom unauthorized disclosures were made of all the terms of this Order,
               8   and (d) request such person or persons to execute the “Acknowledgment and
               9   Agreement to Be Bound” that is attached hereto as Exhibit A.
              10

              11   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
              12   PROTECTED MATERIAL
                         When a Producing Party gives notice to Receiving Parties that certain
              13
                   inadvertently produced material is subject to a claim of privilege or other protection,
              14
                   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
              15
                   Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
              16
                   may be established in an e-discovery order that provides for production without prior
              17
                   privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
              18
                   parties reach an agreement on the effect of disclosure of a communication or
              19
                   information covered by the attorney-client privilege or work product protection, the
              20
                   parties may incorporate their agreement in the stipulated protective order submitted to
              21
                   the court.
              22
                   12.   MISCELLANEOUS
              23
                         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
              24
                   person to seek its modification by the Court in the future.
              25
                         12.2 Right to Assert Other Objections. By stipulating to the entry of this
              26
                   Protective Order no Party waives any right it otherwise would have to object to
              27
Hernandez -
Stipulated
                   disclosing or producing any information or item on any ground not addressed in this
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                                                        10         Case No. 5:20-CV-00591-RGK-KKx
                                           STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 12 of 16 Page ID #:400



               1   Stipulated Protective Order. Similarly, no Party waives any right to object on any
               2   ground to use in evidence of any of the material covered by this Protective Order.
               3         12.3 Filing Protected Material. A Party that seeks to file under seal any
               4   Protected Material must comply with Civil Local Rule 79-5. Protected Material may
               5   only be filed under seal pursuant to a court order authorizing the sealing of the specific
               6   Protected Material at issue. If a Party's request to file Protected Material under seal is
               7   denied by the court, then the Receiving Party may file the information in the public
               8   record unless otherwise instructed by the court.
               9        13.     FINAL DISPOSITION
              10         After the final disposition of this Action, as defined in paragraph 4, within 60
              11   days of a written request by the Designating Party, each Receiving Party must return
              12   all Protected Material to the Producing Party or destroy such material. As used in this
              13   subdivision, “all Protected Material” includes all copies, abstracts, compilations,
              14   summaries, and any other format reproducing or capturing any of the Protected
              15   Material. Whether the Protected Material is returned or destroyed, the Receiving Party
              16   must submit a written certification to the Producing Party (and, if not the same person
              17   or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
              18   category, where appropriate) all the Protected Material that was returned or destroyed
              19   and (2)affirms that the Receiving Party has not retained any copies, abstracts,
              20   compilations, summaries or any other format reproducing or capturing any of the
              21   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
              22   archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
              23   legal memoranda, correspondence, deposition and trial exhibits, expert reports,
              24   attorney work product, and consultant and expert work product, even if such materials
              25   contain Protected Material. Any such archival copies that contain or constitute
              26   Protected Material remain subject to this Protective Order as set forth in Section 4
              27   (DURATION).
Hernandez -
Stipulated
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                                                        11         Case No. 5:20-CV-00591-RGK-KKx
                                           STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 13 of 16 Page ID #:401



               1         14.    Any violation of this Order may be punished by any and all appropriate
               2   measures including, without limitation, contempt proceedings and/or monetary
               3   sanctions.
               4

               5   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
               6

               7   Dated: January 8, 2021
               8

               9 /s/ Sandra H. Castro
                 Sandra H. Castro
              10 Attorneys for Plaintiff

              11
                   Dated: January 8, 2021
              12

              13
                 /s/ Kristen Brown
              14 Kristen Brown

              15 Attorneys for Plaintiff

              16
                   Dated: January 8, 2021
              17

              18 /s/ Christian Keeney
              19 Christian Keeney
                 Alis M. Moon
              20 Blair T. Troy

              21 Attorneys for Defendant:

              22
                   FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
              23

              24
                   Dated: 1/11/21
              25

              26
                   Hon. Kenly Kiya Kato
              27   United States Magistrate Judge
Hernandez -
Stipulated
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                                                         12         Case No. 5:20-CV-00591-RGK-KKx
                                            STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 14 of 16 Page ID #:402



               1                                       EXHIBIT A
               2                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
               3         I,    [print or type full name], of [print or type full address], declare under
               4 penalty of perjury that I have read in its entirety and understand the Stipulated

               5 Protective Order that was issued by the United States District Court for the Central

               6 District of California on [date] in the case of Pedro Hernandez v. New Balance

               7 Athletics, Inc. et al., Case No. 5:20-CV-00591-RGK-KKx. I agree to comply with and

               8 to be bound by all the terms of this Stipulated Protective Order and I understand and

               9 acknowledge that failure to so comply could expose me to sanctions and punishment

              10 in the nature of contempt. I solemnly promise that I will not disclose in any manner

              11 any information or item that is subject to this Stipulated Protective Order to any person

              12 or entity except in strict compliance with the provisions of this Order.

              13         I further agree to submit to the jurisdiction of the United States District Court
              14 for the Central District of California for the purpose of enforcing the terms of this

              15 Stipulated Protective Order, even if such enforcement proceedings occur after

              16 termination of this action. I hereby appoint    [print or type full name] of    [print or
              17   type full address and telephone number] as my California agent for service of process
              18   in connection with this action or any proceedings related to enforcement of this
              19   Stipulated Protective Order.
              20

              21   Date: _________________
              22   City and State where sworn and signed: ______________________
              23   Printed Name: ______________________
              24   Signature: ______________________
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Hernandez -
Stipulated
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                                                       1          Case No. 5:20-CV-00591-RGK-KKx
                                          STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 15 of 16 Page ID #:403



               1                               PROOF OF SERVICE
                                  Pedro Hernandez v. New Balance Athletics, Inc., et al.
               2                         Case No. 5:20-CV-00591-RGK-KKx
               3        I am and was at all times herein mentioned over the age of 18 years and not a
                 party to the action in which this service is made. At all times herein mentioned I have
               4 been employed in the County of Orange in the office of a member of the bar of this
                 court at whose direction the service was made. My business address is 695 Town
               5 Center Drive, Suite 1500, Costa Mesa, CA 92626.

               6         On January 11, 2021, I served the following document(s):
               7                        STIPULATED PROTECTIVE ORDER
               8   by placing ☐ (the original) ☒ (a true copy thereof) in a sealed envelope addressed as
                   follows:
               9
                   ☐     BY MAIL: I placed the envelope for collection and mailing, following our
              10         ordinary business practices. I am readily familiar with the practice of Ogletree,
                         Deakins, Nash, Smoak & Stewart P.C.’s practice for collecting and processing
              11         correspondence for mailing. On the same day that correspondence is placed for
                         collection and mailing, it is deposited in the ordinary course of business with
              12         the United States Postal Service, in a sealed envelope with postage fully prepaid.
              13 ☒       BY CM/ECF: With the Clerk of the United States District Court of California,
                         using the CM/ECF System. The Court’s CM/ECF System will send an e-mail
              14         notification of the foregoing filing to the parties and counsel of record who are
                         registered with the Court’s CM/ECF System.
              15
                   ☒     (Federal)    I declare that I am employed in the office of a member of the State
              16                      Bar of this Court at whose direction the service was made. I
                                      declare under penalty of perjury under the laws of the United States
              17                      of America that the above is true and correct.
              18          I declare under penalty of perjury under the laws of the United States of America
                   that the above is true and correct.
              19

              20         Executed on January 11, 2021, at Costa Mesa, California.
              21

              22

              23
                                                                 Nieka Caruthers-Dodson
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Hernandez -
Stipulated
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                                                       2          Case No. 5:20-CV-00591-RGK-KKx
                                          STIPULATED PROTECTIVE ORDER
          Case 5:20-cv-00591-RGK-KK Document 36 Filed 01/11/21 Page 16 of 16 Page ID #:404



               1                                SERVICE LIST
                                Pedro Hernandez v. New Balance Athletics, Inc., et al.
               2                       Case No. 5:20-CV-00591-RGK-KKx
               3
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               4   Kathleen A. Castro, Esq.                   Pedro Hernandez
                   LAW OFFICES OF
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                   3200 Inland Empire Blvd., Ste. 265
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                   castro@lawservicesonline.com
               8   kathleen@lawservicesonline.com
               9   Kristen Brown, Esq.                        Attorneys for Plaintiff,
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              11   Telephone: 714-564-7695
                   Facsimile: 714-766-8440
              12   krisbrownesq@yahoo.com
              13

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Hernandez -
Stipulated
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                                                     3          Case No. 5:20-CV-00591-RGK-KKx
                                        STIPULATED PROTECTIVE ORDER
